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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

LYNN HAYES, an individual,                             )
                                                       )
                                Plaintiff,             )
        v.                                             )       Case Number 21CV05663
WALGREEN CO., an Illinois corporation, and             )
WALGREENS BOOTS ALLIANCE, INC.,                        )       JURY TRIAL DEMANDED
a foreign corporation,                                 )
                                                       )
                                        Defendants.    )

                                     AMENDED COMPLAINT

       NOW COMES the Plaintiff, LYNN HAYES (hereinafter “HAYES”), an Individual, by and

through her attorneys, Chitkowski Law Offices, and for her Amended Complaint against the

Defendants, WALGREEN CO., and WALGREENS BOOTS ALLIANCE, INC., a Foreign

Corporation, states as follows:

                                              PARTIES

       1.         HAYES is a citizen of the State of Illinois and a resident of DuPage County. At all

relevant times complained of in this Complaint, HAYES was as employee of WALGREENS.

       2.         Defendant, WALGREEN CO. (“WALGREEN”) is an Illinois corporation that

conducts business in the State of Illinois, with its principal Illinois headquarters in the Village of

Deerfield, County of Lake, State of Illinois.

       3.         Defendant, WALGREENS BOOTS ALLIANCE, INC. (“WALGREENS BOOTS”),

is a foreign corporation that conducts business in the State of Illinois, with its principal Illinois

headquarters in the Village of Deerfield, County of Lake, State of Illinois. On information and belief,

WALGREENS BOOTS is the parent company to WALGREEN and is a party in interest to the

present matter.
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                                   JURISDICTION AND VENUE

       4.      The jurisdiction of this Court is invoked pursuant to the Civil Rights Act, 42 U.S.C.

§ 1981 and Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e. et seq. (Title

VII); the judicial code 28 U.S.C. § 1331 and 1343(a); Title I of the Americans with Disabilities Act

of 1990 (ADA), Pub. L. No. 101-336, 104 Stat. 327, and the Constitution of the United States of

America.

       5.      Venue in the District Court for the Northern District of Illinois is proper pursuant to

28 U.S.C. § 1391 because a substantial part of the acts of omission on which the claims are asserted

herein occurred within this District and both HAYES and WALGREEN resided in this District at the

time of the events in question.

                            ADMINISTRATIVE PREREQUISITES

       6.      HAYES met all of the administrative prerequisites pursuant to Title VII of the Civil

Rights Act, as amended, and the Americans with Disabilities Act.

       7.       On June 17, 2019, HAYES filed charges with the Illinois Department of Human

Rights (“IDHR”) and the Equal Employment Opportunity Commission (“EEOC”). IDHR

investigated HAYES’ charge and found a lack of substantial evidence that Defendant had

discriminated against her. See IDHR Notice of Dismissal for Lack of Substantial Evidence (“IDHR

Notice”), attached as Exhibit 1.

       8.      HAYES received a right to sue letter from the EEOC on July 28, 2021. See Right to

Sue letter, attached as Exhibit 2.

                                     NATURE OF THE ACTION

       9.      HAYES had been a hard-working, competent employee in the mailroom for

WALGREEN for approximately (15) years prior to the pattern of discrimination complained of
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herein.

          10.    At all relevant times complained herein, WALGREEN had implemented a policy of

zero tolerance of any actions committed by its employees against each other that could be construed

as harassing, discriminatory or retaliatory in any manner. See Walgreens Code of Conduct, attached

as Exhibit 3.

          11.    Starting on or around October 1, 2018, WALGREEN began an unlawful pattern of

discrimination, harassment, hostile work environment, and retaliation against her, relating to her

disability – deafness, her gender – female, and as retaliation for her reporting improper mailroom

practices.

          12.    WALGREEN forced HAYES to perform tasks that were not part of her job

description, forced HAYES to use equipment that WALGREEN had not provided training for,

forced HAYES to perform tasks that other employees were not required to perform, and changed

HAYES’ work hours in retaliation for reporting previous violations.

          13.    WALGREEN’S actions have caused HAYES to suffer public humiliation, and

emotional distress, among other injuries. Moreover, WALGREEN engaged in a series of retaliatory

actions against HAYES as a result of her ongoing requests for accommodations, assertions of her

legal rights, and complaints about being denied the reasonable accommodations to which she was

entitled under the law.

                  COUNT I - DISCRIMINATION ON THE BASIS OF DISABILITY

          1 – 13. HAYES repeats and re-alleges the allegations contained within paragraphs one (1)

through thirteen (13) as and for her allegations for paragraphs one (1) through thirteen (13) of Count

I.

          14.    HAYES is a female with a disability within the meaning of the Americans with
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Disabilities Act.

        15.    WALGREEN has been aware of HAYES’ disability since she began her employment.

        16.    HAYES began working under the supervision of Stephanie Bristow on or around

October 1, 2018.

        17.    At all relevant times herein, HAYES has been a hard-working, competent employee

who met or exceeded WALGREEN’S legitimate business expectations.

        18.    Beginning on or about October 2018, HAYES was subjected to severe or pervasive

discrimination, harassment, and a hostile work environment on the basis of her disability, deafness.

        19.    From October 2018 – March 2019, Stephanie Bristow, HAYES’ direct supervisor

displayed harassing and hostile conduct towards HAYES on numerous occasions in an attempt to

blame HAYES for certain mailroom tracking issues that Ms. Bristow knew or would have known

upon reasonable investigation, were not the result of HAYES’ actions. HAYES reported this

harassing and hostile conduct to Stephanie Peters, the direct supervisor of Ms. Bristow.

WALGREEN did not apply the same policy towards other employees.

        20.    In November of 2018, Ms. Bristow, for no apparent reason, took a mail cart that

HAYES had been using. When HAYES asked for the cart to be returned, Ms. Bristow mocked

HAYES and made verbal comments that HAYES would not be able to hear because of HAYES’

disability.

        21.    On November 15, 2018, HAYES was forced to use a power lift to transport a pallet

order of (84) water cases into a van and deliver it to Walgreens University; which on average,

required 2-3 men to complete in the same amount allocated for HAYES to complete. HAYES was

not trained or certified to use a power lift, yet WALGREEN, by and through the actions of Ms.

Bristow, harassed and forced HAYES to use the power lift. HAYES reported this harassing and
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hostile conduct to Stephanie Peters, the direct supervisor of Ms. Bristow. WALGREEN did not

apply the same policy towards other employees.

       22.     On November 26, 2018, Ms. Bristow angrily directed HAYES to complete a tub of

“look-ups” over and above HAYES’ job description.

       23.     On multiple occasions, from October 2018 to March of 2019, HAYES was forced to

process more mail and more “look-ups” than other employees. HAYES was forced to miss

scheduled break times and was harassed by WALGREEN when she had to use the bathroom.

HAYES reported this harassing and hostile conduct to Stephanie Peters, the direct supervisor of Ms.

Bristow. WALGREEN did not apply the same policy towards other employees.

       24.     In January 2019, WALGREEN forced HAYES to work changed hours even though

her hours had not changed for 10 of her 15 years of employment. HAYES reported this harassing

and hostile conduct to Stephanie Peters, the direct supervisor of Ms. Bristow. WALGREEN did not

apply the same policy towards other employees.

       25.     On February 11, 2019, after being reported for violations of mailroom procedures,

Ms. Bristow retaliated against HAYES by acting like a deaf person, mimicking HAYES, and

pretending to be deaf. When HAYES attempted to request that Ms. Bristow stop her actions, Ms.

Bristow rolled her eyes at HAYES.

       26.     On February 13, 2019 Ms. Bristow wrote-up HAYES for an alleged disruptive

behavior related to an email to an Employee, Colin Kapinos. This write-up was meant to harass and

intimidate HAYES. When HAYES attempted to discuss this situation with Ms. Bristow, Ms.

Bristow instead mocked and harassed HAYES’ disability by again pretending to be deaf.

       27.     Additional examples of the discriminatory and harassing conduct of WALGREEN

against HAYES are as follows:
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                a.      HAYES was given the sole duty of Mail Services Emails. When HAYES

                        could not respond, Ms. Bristow would get mad. She would use her hand

                        "Check the Mail Services" "Check the Mail Services" in a repetitive and

                        angry tone with her hands towards HAYES.

                b.      Ms. Bristow would purposely set up one on one meetings with HAYES, at

                        the busiest time of the day, so that HAYES would fall behind on her

                        workload. Then HAYES would be reprimanded for falling behind.

                c.      For supply orders, HAYES was given one extra building to deliver supplies

                        to. No other employee was given an extra building to deliver.

        28.     On February 28, 2019, HAYES was again directed to move and deliver cases of

water. When she asked for assistance to perform this task, she was denied. When HAYES returned

to the mailroom, Ms. Bristow smirked and refused to explain why HAYES was directed to perform

the task.

        29.     HAYES reported the discriminatory application of the employment policies to

Stephanie Peters, the direct supervisor of Ms. Bristow.

        30.     In addition, HAYES reported the harassing and discriminatory conduct to Employee

Relations, Henderson Banks. No further action was taken by WALGREEN.

        31.     There is no legitimate, non-discriminatory basis for harassing, and/or discriminating

acts committed by Ms. Bristow against HAYES.

        32.     HAYES was discharged by WALGREEN, due to an alleged disruptive performance,

which was caused by the harassing and discriminatory conduct of Ms. Bristow toward HAYES.

        33.     As described above, WALGREEN discriminated against HAYES based on her

disability, deafness, in violation of the Act.
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       34.     HAYES has suffered and continues to suffer severe injury and damages as a direct

and proximate result of WALGREEN’S discrimination, harassment, hostile work environment, and

retaliatory discharge on the basis of HAYES’ disability.

       WHEREFORE, HAYES respectfully requests that this Court award her:

       a.      Compensatory damages;

       b.      Pre-judgment and post-judgment interest on the above damages;

       c.      Attorney’s fees, costs and litigation expenses; and

       d.      Such other and further relief as the Court deems just and proper.

                   COUNT II - DISCRIMINATION ON THE BASIS OF GENDER

       1 – 32. HAYES repeats and re-alleges the allegations contained within paragraphs one (1)

through thirty-two (32) of Count I as and for her allegations for paragraphs one (1) through thirty-

two (32) of Count II.

       33.     Ms. Hayes was subjected to severe or pervasive discrimination, harassment, and a

hostile work environment on the basis of her gender, female.

       34.     As previously alleged herein, HAYES was directed to perform tasks, such as the

loading and delivery of water bottle pallets, that were outside of her job description and was in fact a

task suited for 2 – 3 able bodied men.

       35.     As previously alleged herein, HAYES was denied access or use of the bathroom

facilities and instead forced to process more mail and more “look-ups.”

       36.     As described above, WALGREEN discriminated against Ms. Hayes based of her

gender, female, in violation of the Act.

       37.     Ms. Hayes has suffered and continues to suffer severe injury and damages as a direct

and proximate result of WALGREEN’S discrimination, harassment, hostile work environment, and
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retaliatory discharge on the basis of Ms. Hayes’ gender.

       WHEREFORE, Ms. Hayes respectfully requests that this Court award her:

       a.      Compensatory damages;

       b.      Pre-judgment and post-judgment interest on the above damages;

       c.      Attorney’s fees, costs and litigation expenses; and

       d.      Such other and further relief as the Court deems just and proper.

                            COUNT III – RETALIATORY DISCHARGE

       1 – 32. HAYES repeats and re-alleges the allegations contained within paragraphs one (1)

through thirty-two (32) of Count I as and for her allegations for paragraphs one (1) through thirty-

two (32) of Count III.

       33.     In December 2018, HAYES reported a violation of mail room practices, specifically

that Stephanie Bristow took WALGREEN mail home, to Stephanie Peters.

       34.     This violation was also reported to the Privacy Department, Doris Pigott and

subsequently to the Compliance Officer, Anne Kirwan.

       35.     Despite the report submitted by HAYES, Ms. Kirwan failed to address the violation.

       36.     HAYES was a hard-working, competent employee who, at all relevant times herein,

met or exceeded Respondent’s legitimate business expectations.

       37.     On March 4, 2019, HAYES was discharged by WALGREEN without just cause or

legal basis. The reason given was disruptive performance. HAYES has never been disruptive.

       38.     The discharge followed Ms. Hayes’ last complaint of a violation of mail room

practices within a short period of time, thereby raising an inference of retaliatory motivation.
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         39.     The harassing and discriminatory acts committed by Ms. Bristow giving rise to the

incident occurring on February 13, 2019, allegedly serving as the basis for HAYES’ termination

were omitted from reference by WALGREEN.

         WHEREFORE, Ms. Hayes respectfully requests that this Court award her:

         a.      Compensatory damages;

         b.      Pre-judgment and post-judgment interest on the above damages;

         c.      Attorney’s fees, costs and litigation expenses; and

         d.      Such other and further relief as the Court deems just and proper.

                                      COUNT IV
              DISCRIMINATION ON THE BASIS OF DISABILITY (STATE LAW CLAIM)

         1 – 15. HAYES repeats and re-alleges the allegations contained within paragraphs one (1)

through fifteen (15) as and for her allegations for paragraphs one (1) through fifteen (15) of Count

IV.

         16.     HAYES is a female with a disability within the meaning of Section 1-103(I) of the

Illinois Human Rights Act.

         17.     WALGREEN has been aware of HAYES’ disability since she began her employment.

         18.     HAYES began working under the supervision of Stephanie Bristow on or around

October 1, 2018.

         19.     At all relevant times herein, HAYES has been a hard-working, competent employee

who met or exceeded WALGREEN’S legitimate business expectations.

         20.     Beginning on or about October 2018, HAYES was subjected to severe or pervasive

discrimination, harassment, and a hostile work environment on the basis of her disability, deafness.

         21.     From October 2018 – March 2019, Stephanie Bristow, HAYES’ direct supervisor
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displayed harassing and hostile conduct towards HAYES on numerous occasions in an attempt to

blame HAYES for certain mailroom tracking issues that Ms. Bristow knew or would have known

upon reasonable investigation, were not the result of HAYES’ actions. HAYES reported this

harassing and hostile conduct to Stephanie Peters, the direct supervisor of Ms. Bristow.

WALGREEN did not apply the same policy towards other employees.

        22.    In November of 2018, Ms. Bristow, for no apparent reason, took a mail cart that

HAYES had been using. When HAYES asked for the cart to be returned, Ms. Bristow mocked

HAYES and made verbal comments that HAYES would not be able to hear because of HAYES’

disability.

        23.    On November 15, 2018, HAYES was forced to use a power lift to transport a pallet

order of (84) water cases into a van and deliver it to Walgreens University; which on average,

required 2-3 men to complete in the same amount allocated for HAYES to complete. HAYES was

not trained or certified to use a power lift, yet WALGREEN, by and through the actions of Ms.

Bristow, harassed and forced HAYES to use the power lift. HAYES reported this harassing and

hostile conduct to Stephanie Peters, the direct supervisor of Ms. Bristow. WALGREEN did not

apply the same policy towards other employees.

        24.    On November 26, 2018, Ms. Bristow angrily directed HAYES to complete a tub of

“look-ups” over and above HAYES’ job description.

        25.    On multiple occasions, from October 2018 to March of 2019, HAYES was forced to

process more mail and more “look-ups” than other employees. HAYES was forced to miss

scheduled break times and was harassed by WALGREEN when she had to use the bathroom.

HAYES reported this harassing and hostile conduct to Stephanie Peters, the direct supervisor of Ms.

Bristow. WALGREEN did not apply the same policy towards other employees.
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       26.    In January 2019, WALGREEN forced HAYES to work changed hours even though

her hours had not changed for 10 of her 15 years of employment. HAYES reported this harassing

and hostile conduct to Stephanie Peters, the direct supervisor of Ms. Bristow. WALGREEN did not

apply the same policy towards other employees.

       27.    On February 11, 2019, after being reported for violations of mailroom procedures,

Ms. Bristow retaliated against HAYES by acting like a deaf person, mimicking HAYES, and

pretending to be deaf. When HAYES attempted to request that Ms. Bristow stop her actions, Ms.

Bristow rolled her eyes at HAYES.

       28.    On February 13, 2019 Ms. Bristow wrote-up HAYES for an alleged disruptive

behavior related to an email to an Employee, Colin Kapinos. This write-up was meant to harass and

intimidate HAYES. When HAYES attempted to discuss this situation with Ms. Bristow, Ms.

Bristow instead mocked and harassed HAYES’ disability by again pretending to be deaf.

       29.    Additional examples of the discriminatory and harassing conduct of WALGREEN

against HAYES are as follows:

              a.      HAYES was given the sole duty of Mail Services Emails. When HAYES

                      could not respond, Ms. Bristow would get mad. She would use her hand

                      "Check the Mail Services" "Check the Mail Services" in a repetitive and

                      angry tone with her hands towards HAYES.

              b.      Ms. Bristow would purposely set up one on one meetings with HAYES, at

                      the busiest time of the day, so that HAYES would fall behind on her

                      workload. Then HAYES would be reprimanded for falling behind.

              c.      For supply orders, HAYES was given one extra building to deliver supplies

                      to. No other employee was given an extra building to deliver.
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        30.    On February 28, 2019, HAYES was again directed to move and deliver cases of

water. When she asked for assistance to perform this task, she was denied. When HAYES returned

to the mailroom, Ms. Bristow smirked and refused to explain why HAYES was directed to perform

the task.

        31.    HAYES reported the discriminatory application of the employment policies to

Stephanie Peters, the direct supervisor of Ms. Bristow.

        32.    In addition, HAYES reported the harassing and discriminatory conduct to Employee

Relations, Henderson Banks. No further action was taken by WALGREEN.

        33.    There is no legitimate, non-discriminatory basis for harassing, and/or discriminating

acts committed by Ms. Bristow against HAYES.

        34.    HAYES was discharged by WALGREEN, due to an alleged disruptive performance,

which was caused by the harassing and discriminatory conduct of Ms. Bristow toward HAYES.

        35.    As described above, WALGREEN discriminated against HAYES based on her

disability, deafness, in violation of the IHRA, 775 ILCS 5/1-103(I).

        36.    HAYES has suffered and continues to suffer severe injury and damages as a direct

and proximate result of WALGREEN’S discrimination, harassment, hostile work environment, and

retaliatory discharge on the basis of HAYES’ disability.

        WHEREFORE, HAYES respectfully requests that this Court award her:

        e.     Compensatory damages;

        f.     Pre-judgment and post-judgment interest on the above damages;

        g.     Attorney’s fees, costs and litigation expenses; and

        h.     Such other and further relief as the Court deems just and proper.

                                               COUNT V
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             DISCRIMINATION ON THE BASIS OF GENDER (STATE LAW CLAIM)

       1 – 34. HAYES repeats and re-alleges the allegations contained within paragraphs one (1)

through thirty-four (34) of Count IV as and for her allegations for paragraphs one (1) through thirty-

four (34) of Count V.

       35.     Ms. Hayes was subjected to severe or pervasive discrimination, harassment, and a

hostile work environment on the basis of her gender, female.

       36.     As previously alleged herein, HAYES was directed to perform tasks, such as the

loading and delivery of water bottle pallets, that were outside of her job description and was in fact a

task suited for 2 – 3 able bodied men.

       37.     As previously alleged herein, HAYES was denied access or use of the bathroom

facilities and instead forced to process more mail and more “look-ups.”

       38.     As described above, WALGREEN discriminated against Ms. Hayes based of her

gender, female, in violation of the IHRA, 775 ILCS 5/1-103(O).

       39.     Ms. Hayes has suffered and continues to suffer severe injury and damages as a direct

and proximate result of WALGREEN’S discrimination, harassment, hostile work environment, and

retaliatory discharge on the basis of Ms. Hayes’ gender.

       WHEREFORE, Ms. Hayes respectfully requests that this Court award her:

       e.      Compensatory damages;

       f.      Pre-judgment and post-judgment interest on the above damages;

       g.      Attorney’s fees, costs and litigation expenses; and

       h.      Such other and further relief as the Court deems just and proper.

               COUNT VI – RETALIATORY DISCHARGE (STATE LAW CLAIM)

       1 – 34. HAYES repeats and re-alleges the allegations contained within paragraphs one (1)
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through thirty-four (34) of Count IV as and for its allegations for paragraphs one (1) through thirty-

four (34) of Count VI.

       35.     In December 2018, HAYES reported a violation of mail room practices, specifically

that Stephanie Bristow took WALGREEN mail home, to Stephanie Peters.

       36.     This violation was also reported to the Privacy Department, Doris Pigott and

subsequently to the Compliance Officer, Anne Kirwan.

       37.     Despite the report submitted by HAYES, Ms. Kirwan failed to address the violation.

       38.     HAYES was a hard-working, competent employee who, at all relevant times herein,

met or exceeded Respondent’s legitimate business expectations.

       39.     On March 4, 2019, HAYES was discharged by WALGREEN without just cause or

legal basis. The reason given was disruptive performance. HAYES has never been disruptive.

       40.     The discharge followed Ms. Hayes’ last complaint of a violation of mail room

practices within a short period of time, thereby raising an inference of retaliatory motivation.

       41.     The harassing and discriminatory acts committed by Ms. Bristow giving rise to the

incident occurring on February 13, 2019 allegedly serving as the basis for HAYES’ termination were

omitted from reference by WALGREEN.

       WHEREFORE, Ms. Hayes respectfully requests that this Court award her:

       e.      Compensatory damages;

       f.      Pre-judgment and post-judgment interest on the above damages;

       g.      Attorney’s fees, costs and litigation expenses; and

       h.      Such other and further relief as the Court deems just and proper.
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                              COUNT VII
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS (STATE LAW CLAIM)

       1 – 34. HAYES repeats and re-alleges the allegations contained within paragraphs one (1)

through thirty-four (34) of Count IV as and for its allegations for paragraphs one (1) through thirty-

four (34) of Count VII.

       35.     At the time and place aforesaid, WALGREEN as HAYES’ employer, had actual

authority over Ms. Hayes.

       36.     On or about October 2018 through the date of HAYES’ termination, Ms. Bristow was

HAYES’ direct supervisor assigned by WALGREEN.

       37.     On or about October 2018 through the date of HAYES’ termination, had actual

knowledge of HAYES’ disability as well the reasonable accommodations made to HAYES over her

past fifteen (15) years of service working for WALGREEN.

       38.     On or about October 2018 through the date of HAYES’ termination, WALGREEN

knew or should have known that the harassing and discriminatory acts committed by its employee

and HAYES supervisor, Ms. Bristow, would cause emotional distress to HAYES.

       39.     Despite multiple reports by HAYES of Ms. Bristow’s harassing and discriminatory

acts against HAYES, WALGREEN failed to remove and/or discipline Ms. Bristow to prevent her

from continuing her misconduct toward HAYES.

       40.     The repeated acts of harassment and discriminatory conduct by Ms. Bristow against

HAYES, without any action taken by WALGREEN, proximately caused HAYES to sustain severe

and extreme emotional distress.

       41.     WALGREEN unjust termination of HAYES on March 4, 2019 further served to

proximately cause HAYES to sustain further severe and extreme emotional distress.
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        42.     As a result of the severe and extreme emotional distress suffered by HAYES as a

proximate result of the intentional acts committed by WALGREEN, HAYES has had to seek and

continues to seek medical treatment.

        WHEREFORE, HAYES demands judgment against WALGREEN for a sum in excess of the

jurisdictional limit of this court.



                                                   Respectfully Submitted,
                                                   CHITKOWSKI LAW OFFICES


                                            By:    /s/ Bryan R. Kelsey
                                                   One of its Attorneys



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